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Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
Email Address

Noreen A Madoyan
Margulies Faith LLP
16030 Ventura Blvd #470
Encino, CA 91436
818−705−2777




Plaintiff or Attorney for Plaintiff

                                     UNITED STATES BANKRUPTCY COURT
                               CENTRAL DISTRICT OF CALIFORNIA − SANTA BARBARA
In re:

                                                                              CASE NO.:    9:19−bk−11055−MB

Jeffrey Paul Chamberlain                                                      CHAPTER:     7


                                                                              ADVERSARY NUMBER:         9:19−ap−01076−MB
                                                               Debtor(s).

Jeremy W. Faith, Chapter 7 Trustee


                                                               Plaintiff(s)
                               Versus
                                                                                  SUMMONS AND NOTICE OF STATUS
                                                                                    CONFERENCE IN ADVERSARY
Joan R. MacDonald                                                                    PROCEEDING [LBR 7004−1]
(See Attachment A for names of additional defendants)
                                                           Defendant(s)



TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
response on the party shown in the upper left−hand corner of this page. The deadline to file and serve a written response is
12/12/2019. If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief
demanded in the Complaint.

 A status conference in the adversary proceeding commenced by the Complaint has been set for:
             Date:                January 15, 2020
             Time:                02:30 PM
             Hearing Judge:       Martin R. Barash
             Location:            1415 State St., Crtrm 201, Santa Barbara, CA 93101



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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You must comply with LBR 7016−1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the
other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before
a status conference. A court−approved joint status report form is available on the court's website (LBR form F
7016−1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016−1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference. The court may fine you or impose other sanctions if you do not file a status report. The court may
also fine you or impose other sanctions if you fail to appear at a status conference.




                                                                                        KATHLEEN J. CAMPBELL
                                                                                        CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding: November 12, 2019




                                                                                        By:        "s/" Amber Ortiz
                                                                                                   Deputy Clerk




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                                                     ATTACHMENT A
                                              Names of plaintiffs and defendants



Plaintiff(s):                                                                Defendant(s):
Jeremy W. Faith, Chapter 7 Trustee                                           Joan R. MacDonald
                                                                             Joan R. MacDonald, as Trustee of the
                                                                             Chamberlain−MacDonald Living Trust dated May 29, 1993




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                                                             ATTACHMENT A

                                                                                                                                                 .
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
16030 Ventura Blvd., Suite 470, Encino, CA 91436

A true and correct copy of the foregoing document entitled (specify):

A. COMPLAINT FOR: (1) AVOIDANCE OF ACTUAL FRAUDULENT TRANSFERS [11 U.S.C. §§ 544, 548(a)(1)(A);
   Cal. Civ. Code §§ 3439.04, 3439.07, 3439.09]; (2) AVOIDANCE OF FRAUDULENT TRANSFERS [11 U.S.C. § 544,
   548(a)(1)(B); Cal. Civ. Code §§ 3439.05, 3439.07, 3439.09]; and (3) RECOVERY OF AVOIDED TRANSFERS [11
   U.S.C.§ 550] (DKT NO. 1);

B. ADVERSARY PROCEEDING COVER SHEET (DKT NO. 1-1);

C. STATUS CONFERENCE PROCEDURES FOR THE HON. MARTIN R. BARASH with LOCAL BANKRUPTCY RULE
   FORM F7016-1.STATUS.REPORT [DKT No. 2];

D. SUMMONS AND NOTICE OF STATUS CONFERENCE IN ADVERSARY PROCEEDING [LBR 7004-1] (Dkt. No. 2-1).

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document.
On November 12, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) November 12, 2019, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

JUDGE: Hon. Martin R. Barash, U.S. Bankruptcy Court, 21041 Burbank Blvd., Suite 342, Woodland Hills, CA 91367
(executed summons only)
DEFENDANT: JOAN R. MACDONALD, an individual - 3812 Bowsprit Circle, Westlake Village, CA 91361
DEFENDANT: JOAN R. MACDONALD, as trustee of the CHAMBERLAIN-MACDONALD LIVING TRUST dated May 29,
1993 - 3812 Bowsprit Circle, Westlake Village, CA 91361
                                                                    Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) __________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 November 12, 2019                         Victoria Castrellon                                  /s/ Victoria Castrellon
 Date                                      Printed Name                                         Signature


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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                             ADDITIONAL SERVICE INFORMATION (if needed)

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)
PLAINTIFF / CHAPTER 7 TRUSTEE: Jeremy W. Faith (TR) Trustee@MarguliesFaithlaw.com,
C118@ecfcbis.com;Helen@MarguliesFaithLaw.com;leedowding@gmail.com

ATTORNEY FOR PLAINTIFF / CHAPTER 7 TRUSTEE: Noreen A Madoyan Noreen@MarguliesFaithLaw.com,
Helen@MarguliesFaithlaw.com;Victoria@MarguliesFaithlaw.com;Dana@marguliesfaithlaw.com

UST: United States Trustee (ND)                ustpregion16.nd.ecf@usdoj.gov




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
